        8:05-cr-00237-LSC-FG3 Doc # 131 Filed: 05/31/07 Page 1 of 1 - Page ID # 513

                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


IN RE: Criminal Cases

      This matter is before the Court upon the Court's own motion:

       IT IS HEREBY ORDERED that government's exhibits in the case listed below are to be returned
to the United States Attorney for appropriate disposition.

      CASE NUMBER                                    CAPTION


8:02CR329                                            US v. Danny D. Reaves
8:05CR127                                            US v. Danny Ray Lewis
8:05CR237                                            US v. Patrick Smith, et al.

      DATED this 31st day of May, 2007.


                                              BY THE COURT

                                              s/Laurie Smith Camp
                                              United States District Judge
